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                                                                                     Pulaski County Circuit Court
                                                                                   Larry Crane, Circuit/County Clerk
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                                                                                      S0CV-18-8248
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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CIVIL DIVISION

DAREL ADELSBERGER and                                                               PLAINTIFFS
ANNETTE ADELSBERGER

v.                                      No. 60CV-18-8248

UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT

                                     ORIGINAL ANSWER

       COMES NOW, Defendant, Union Pacific Railroad Company, and for its Answer to

Plaintiffs' Complaint, states and alleges the following:

       1.      Defendant is without sufficient information to either admit or deny the allegations

contained in paragraph 1 of the Complaint, and therefore denies the same.

       2.      Defendant admits the allegations contained in paragraph 2 of the Complaint.

       3.      Defendant admits the allegations contained in paragraph 3 of the Complaint.

       4.      Defendant admits the it uses and is responsible for maintaining certain railroad

tracks and facilities in the state, including the track that passes through Section 2, Township 2

North, Range 11 West, Pulaski County, but denies the remaining allegations contained in

paragraph 4 of the Complaint.

       5.      Defendant denies the allegations contained in paragraph 5 of the Complaint.

       6.      Defendant denies the allegations contained in paragraph 6 of the Complaint.

       7.      Defendant denies the allegations contained in paragraph 7 of the Complaint.




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        8.     Defendant denies that it failed to properly maintain the culvert and drainage

facilities. Defendant is without sufficient information to admit or deny the remaining allegations

in paragraph 8 of the Complaint and therefore denies them.

       9.      Defendant denies the allegations contained in paragraph 9 of the Complaint.

        I 0.   All allegations contained within the WHEREFORE clause are denied.

        11.    All allegations not admitted herein are specifically and generally denied.



                                  AFFIRMATIVE DEFENSES

        12.    Pleading affirmatively, Plaintiffs have failed to state facts upon which relief can be

granted, and the Complaint should be dismissed pursuant to Rule 12(b)(6).

        13.    Pleading affirmatively, Plaintiffs have failed to mitigate their damages.

        14.    Pleading affirmatively, Plaintiffs' contributory negligence bars Plaintiffs' recovery

in whole or in part.

        15.    Pleading affirmatively, any flooding which has occurred on Plaintiffs' property was

the result of natural occurrences or circumstances outside the control of Defendant.

        16.    Pleading affirmatively, Union Pacific states that the causes of action alleged are

preempted or precluded by Federal Law, including but not limited to the Interstate Commerce

Commission Termination Act, 49 U.S.C. §10101 et. seq.

        17.    Pleading affirmatively, Union Pacific states that this action must be dismissed due

to lack of subject matter jurisdiction.

        18.    Pleading affirmatively, Union Pacific states that this action must be dismissed due

to laches.




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        19.     Pleading affirmatively, Union Pacific states that this action must be dismissed due

to estoppel.

        20.     Pleading affirmatively, Union Pacific states that this action must be dismissed due

to the applicable statute of limitations.

        21.     Pleading affirmatively, Union Pacific states that the damages described herein

were, in whole or in part, caused by the contributory negligence of the Plaintiffs or third parties

over whom Union Pacific has no control.

        22.     Union Pacific reserves its right to further amend its answer and defenses herein

based on further discovery and as justice may require. Specifically Union Pacific reserves the right

to plead further and reserves objections on the basis of lack of jurisdiction over the subject matter,

lack of jurisdiction over the person, failure to state facts upon which relief can be granted,

pendency of another action between the same parties arising out of the same transaction or

occurrence, and the affirmative defenses available under Rule 8, including but not limited to accord

and satisfaction, arbitration and award, assumption of risk, contributory negligence, discharge in

bankruptcy, payment, release, res judicata, statute of frauds, and any other matter constituting an

avoidance or affirmative defense. Union Pacific reserves the right to further amend its Answer

and defenses herein based on further discovery and as justice may require.

        23.     Pleading affirmatively, Union Pacific pleads all rights and defenses under the Civil

Justice Reform Act of 2003, as applicable.

        WHEREFORE, Defendant prays for an order dismissing Plaintiffs complaint, for an

award of costs and attorney's fees and for all other relief to which Defendant may be entitled.




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                                             Respectfully submitted,

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                                             Isl Joseph P. McKay
                                             Joseph P. McKay




                                  CERTIFICATE OF SERVICE

       I, Joseph P. McKay, certify that a true and correct copy of this filing has been filed with
   the Court's eFlex filing system, and served by electronic mail and first class U.S. mail postage
   prepaid on this 27th day of December, 2018 upon:

   Stanley D. Rauls
   P.O. Box 21665
   Little Rock, AR 72221
   sdr@aristotle.net


                                              Isl Joseph P. McKay
                                             Joseph P. McKay




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